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                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
SK/EMR/PP/MED                                     271 Cadman Plaza East
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                                                  December 9, 2022

By E-mail and ECF

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                Re:   United States v. Genaro Garcia Luna
                      Criminal Docket No. 19-576 (BMC)

Dear Counsel:

                Pursuant to 18 U.S.C. § 3500, the government is disclosing to you the
enclosed material related to a potential witness. This production is marked “Protected
Material” and is subject to the terms of the Court’s February 18, 2020, Protective Order. See
Dkt. No. 19. The government will disclose additional § 3500 material related to this witness
sufficiently in advance of his/her testimony and will produce § 3500 material regarding other
witnesses sufficiently in advance of trial.


                                                  Very truly yours,

                                                  BREON PEACE
                                                  United States Attorney

                                           By:     /s/
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cc: Clerk of Court (BMC) (via ECF)
